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 6                         IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9   David Kaufman,                                 No. CV-16-02248-PHX-JAT
10                   Plaintiff,                     ORDER
11   v.
12   Warner Bros. Entertainment Incorporated,
     et al.,
13
                     Defendants.
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15            Several motions are pending before the Court. One such motion is Plaintiff’s
16   “Motion for Reconsideration” of this Court’s summary judgment order.         (Doc. 88).
17   Plaintiff does not cite what Rule he moves under. The Court is hesitant to guess which
18   Rule Plaintiff intended to move under because selecting which Rule has significant
19   consequences regarding when an appeal is due.1 However, Plaintiff puts the Court and
20   Defendant in a difficult position because the various Rules have different response
21   obligations and governing legal standards. Compare LR Civ. 7.2(i) and Motorola, Inc. v.
22   J.B. Rogers Mechanical Contractors, Inc., 215 F.R.D. 581, 586 (D. Ariz. 2003) with Fed.
23   R. Civ. P. 59(e) and McQuillion v. Duncan, 343 F.3d 1012, 1014 (9th Cir. 2003); see also
24   Fed. R. Civ. Pro. 60(b). Against this background, the Court will not speculate as to
25   which Rule Plaintiff intended to move under; however, the Court will order Defendant to
26   respond. Therefore,
27            IT IS ORDERED that Defendant shall respond to the “motion for
28
     1
          See Fed. R. App. P. 4(a)(4)(A).
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 1   reconsideration” by November 13, 2018. Any reply is due within 7 days of when the
 2   response is filed.
 3          IT IS FURTHER ORDERED that the motion for extension of time to file a
 4   response to the pending motion for attorney’s fees (Doc. 105) is granted to the extent that
 5   the response filed at Doc. 106 (plus the two erratas) is deemed to be timely.
 6          IT IS FINALLY ORDERED that the motion for extension of time to file a reply
 7   in support of the motion for attorney’s fees (Doc. 109) is granted to the extent that the
 8   reply is due by November 8, 2018.
 9          Dated this 31st day of October, 2018.
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